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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                     September 25, 2023
                     IN THE UNITED STATES DISTRICT COURT
                                                                                      Nathan Ochsner, Clerk
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

OBEL CRUZ-GARCIA,                                '
                                                 '
       Petitioner,                               '
v.                                               '            CIVIL ACTION NO. 17-cv-3621
                                                 '
BOBBY LUMPKIN,                                   '
Director, Texas Department of                    '
Criminal Justice, Correctional                   '
Institutions Division                            '
                                                 '
       Respondent.                               '

                                      FINAL JUDGMENT

       The court denies Obel Cruz-Garcia’s petition for a writ of habeas corpus and dismisses this

case with prejudice. No certificate of appealability will issue.

       This is a final judgment.

       SIGNED on September 25, 2023, at Houston, Texas.



                                              _______________________________________
                                                          Lee H. Rosenthal
                                                      United States District Judge
